Case 4:18-Cr-00005-SEB-VTW Document 29 Filed 03/13/18 Page 1 of 1 Page|D #: 137

INSD 458 (Rev. 08/09) Appearance of Counse! ~ Criminai Case

UNITED STATES DISTRICT CoURT
for the FlLED

Southern District of Indiana , , ,
HAR '! §§ 2618

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P/aintiff ) . v
V' ) Case NO_ 4.18~cr-5~sEB~vTvv-4
WATSON )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

l am authorized to practice in this court and I appear in this case as counsel for:

JOAN|E R. WATSON

 

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